
PER CURIAM.
_JjAfter reviewing the evidence and considering the law, we conclude petitioner is immediately eligible to be conditionally admitted to the practice of .law in Louisiana, subject to a probationary period of eighteen months. The probationary period shall commence from the date petitioner, the Office of Disciplinary Counsel, and the probation monitor execute a formal probation plan. During the probationary period, petitioner shall comply with all 'of the terms and conditions of the consent agreement executed by her with the Louisiana Supreme Court Committee on Bar Admis*597sions, and such other conditions as may be imposed upon her by the Office of Disciplinary Counsel. Should petitioner fail to make a good faith effort to -satisfy these conditions, or should she commit any misconduct during the period of probation, her conditional right to practice may be terminated or she may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
